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 Civil Action No. 4:24-cv-1441

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

           ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                          ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                          ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 Additional information regarding attempted service, etc:
